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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: March 5, 2020




                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

   IN RE:                                     )
                                              )         Case No. 3:19-bk-30822
   TAGNETICS INC.,                            )
                                              )         Chapter 7 (Involuntary)
                       Alleged Debtor.        )
                                              )         JUDGE GUY R. HUMPHREY




   ORDER GRANTING AMENDED MOTION OF McCARTHY, LEBIT, CRYSTAL &
     LIFFMAN, CO., L.P.A. AND ROBERT R. KRACHT, ESQ. FOR LEAVE TO
          WITHDRAW AS COUNSEL FOR THE ALLEGED DEBTOR


        This matter came on for consideration on the Amended Motion of McCarthy, Lebit, Crystal

 & Liffman, Co., L.P.A. and Robert R. Kracht, Esq., (collectively “Movants”) for Leave to

 Withdraw as Counsel for Tagnetics, Inc. (the “Motion,” Doc. No. 159).

        Movants have alleged that good cause for the granting of the Motion exist, co-counsel for

 the Alleged Debtor, the Alleged Debtor and all other necessary parties were served with the Motion

 and with Notice of the Motion and opportunity to object (Doc. No. 160). No party filed a response



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 or otherwise objected to the Motion. For these reasons, it is appropriate to grant the relief requested

 in the Motion.

        IT IS THEREFORE ORDERED that the Motion is granted. The law firm of McCarthy,

 Lebit, Crystal & Liffman, Co., L.P.A. and Robert R. Kracht, Esq. are hereby authorized to

 withdraw as counsel for the Alleged Debtor, Tagnetics, Inc..

 SUBMITTED BY:

 /s/ Robert R. Kracht
 Robert R. Kracht (#0025574)
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 McCarthy, Lebit, Crystal & Liffman Co., L.P.A.
 101 West Prospect Avenue, Suite 1800
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 Fax: (216) 696-1210


 Copies to: All Creditors and Parties in Interests, Plus
 The Alleged Debtor and
 Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130
 Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




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